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IN THE UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF MONTANA,
MISSOULA DIVISION

KATHERINE GUINNANE, CV 19-85-M-DWM
individually and as personal
representative for the Estate of Edwin
Guinnane, and GUINNANE RANCH,
LLC,

Plaintiffs, ORDER
Vv.

NANCY DOBBINS, as personal
representative for the Estate of Robert
Dobbins,

Defendant.

 

 

A jury trial in this matter is set to commence on October 5, 2020. In light of
COVID-19 and the rising active and new case numbers in Montana, and in
particular Missoula County,

IT IS ORDERED that the jurors in the instant case will be subject to partial
sequestration as set out in 28 U.S.C. §1871(e).

IT IS FURTHER ORDERED that the jurors are to be kept together and not
to separate during each trial day for their safety and security. In keeping with this
order, during the course of trial, the jurors’ snacks, meals, and/or lodging will be

provided by the Court for the jurors convenience and comfort.
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DATED this we, of October, 2020. we

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Donald W/ Molloy, District Judge
United States District Court

 
     

   
